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                  BEFORE THE DISTRICT 14 GRIEVANCE COMMITTEE
                            EVIDENTIARY PANEL 14-2
                              STATE BAR OF TEXAS

COMMISSION FOR LAWYER
DISCIPLINE,
Petitioner

V.                                                            CASE NO. 201706276

JASON LEE VAN DYKE,
Respondent

               AGREED JUDGMENT OF FULLY PROBATED SUSPENSION

                                   Parties a n d Appearance

          On this day, came to be heard the above-styled and numbered cause. Petitioner,

Commission for Lawyer Discipline (Petitioner) and Respondent, JASON LEE VAN DYKE

(Respondent), Texas Bar Number 24057426, announce that an agreement has been

reached on all matters including the imposition of a Probated Suspension.

                                    Jurisdiction   and Venue

          The Evidentiary Panel 14-2, having been duly appointed to hear this complaint by

the chair of the Grievance Committee for State Bar of Texas District 14, finds that it has

jurisdiction over the parties and the subject matter of this action, and that venue is proper.

                                   Professional    Misconduct

          The Evidentiary Panel, having considered the pleadings, admissions, stipulations

and agreements of the parties, finds Respondent has committed Professional Misconduct

as defined by Rule 1.06(W) of the Texas Rules of Disciplinary Procedure.

                                        Findings    of Fact

          Petitioner and Respondent agree to the following findings of fact. Accordingly, the

Evidentiary Panel finds:



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          1. Respondent is an attorney licensed to practice law in Texas and is a
             member of the State Bar of T exas.

          2. Respondent resides in and maintains his principal place of practice in
             Denton County, Texas.

          3. On October 3, 2017, Respondent filed a lawsuit on behalf of his client,
             Jessica Vidrine (Vidrine), against Complainant, Ryan Daniel.

          4. Respondent threatened to present criminal or disciplinary charges solely
             to gain an advantage in connection with the civil matter.

          5. Respondent continued to represent Vidrine after it reasonably appeared
             that his representation became adversely limited by Respondent’s own
             interests.

          6. The Chief Disciplinary Counsel of the State Bar of Texas has incurred
             reasonable attorney’s fees and direct expenses associated with this
             Disciplinary Proceeding in the amount of One Thousand Eight Hundred
             Dollars and No/100 Cents ($1,800.00).

                                      Conclusions of Law

          Petitioner and Respondent agree that, based on the foregoing findings of fact, the

following Texas Disciplinary Rules of Professional              Conduct have been violated.

Accordingly, the Evidentiary Panel concludes that the following Texas Disciplinary Rules of

Professional Conduct have been violated: Rules 1.06(b)(2) and 4.04(b)(1).

                                            Sanction

          It is AGREED and ORDERED that the sanction of a Probated Suspension shall be

imposed against Respondent in accordance with the Texas Rules of Disciplinary

Procedure.

          Accordingly, it is ORDERED, ADJUDGED and DECREED that Respondent be

suspended from the practice of law for a period of six (6) months, with the suspension

being fully probated pursuant to the terms stated below.                The period of probated

suspension shall begin on November 15, 2018, and shall end on May 14, 2019.


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                                      Terms of Probation

          It is further ORDERED that during all periods of suspension, Respondent shall be

under the following terms and conditions:

   1.        Respondent shall not violate any term of this judgment.

   2.        Respondent shall not engage in professional misconduct as defined by Rule
             1 .06(W) of the Texas Rules of Disciplinary Procedure.

   3.        Respondent shall not violate any state or federal criminal statutes.

   4.        Respondent shall keep State Bar of Texas membership department notified of
             current mailing, residence and business addresses and telephone numbers.

   5.        Respondent shall      comply     with Minimum       Continuing     Legal   Education
             requirements.

   6.        Respondent shall comply with Interest on Lawyers Trust Account (IOLTA)
             requirements.

   7.        Respondent shall promptly respond to any request for information from the Chief
             Disciplinary Counsel in connection with any investigation of any allegations of
             professional misconduct.

   8.        Respondent shall pay all reasonable and necessary attorney’s fees and direct
             expenses to the State Bar of Texas in the amount of One Thousand Eight
             Hundred Dollars and No Cents ($1 ,800.00). The payment of attorney’s fees and
             direct expenses shall be made in four (4) monthly installments, each in the
             amount of Four Hundred Fifty Dollars and No Cents ($450.00). Each payment is
             due on or before the fifteenth (15 th) day of each month, as follows: November
             15, 2018; December 15, 2018; January 15, 2019; and February 15, 2019. The
             payments of attorney’s fees and direct expenses shall be made by certified or
             cashier’s check or money order and made payable to the State Bar of Texas,
             and delivered to the State Bar of Texas, Chief Disciplinary Counsel's Office,
             P.O. Box 12487, Austin, TX 7871 1-2487 (1414 Colorado St., Austin, TX 78701).

    9.       Respondent shall seek mental health treatment. Prior to May 14, 2019,
             Respondent shall submit to a psychological evaluation and Respondent shall
             instruct the mental health professional to confirm to Petitioner, in writing, when
             Respondent has completed same. Further, Respondent shall instruct the mental
             health professional to provide Petitioner with written updates that confirm that
             Respondent is continuing therapy/counseling with said provider and that
             Respondent is continuing therapy/counseling with said provider and that confirm
             that Respondent is compliant with the provider’s recommendations.


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             Respondent shall sign any HIPAA release necessary for the limited purpose of
             the mental health professional confirming with Petitioner:

             a. That Respondent completed the psychological evaluation; and
             b. That Respondent is compliant with the mental health professional’s
                recommendations.

             The substance of the evaluation and/or therapy shall not be released to
             Petitioner.

    10.      Respondent shall make contact with the Chief Disciplinary Counsel’s Offices’
             Compliance Monitor at 877-953-5535, ext. 1334 and Special Programs
             Coordinator at 877-953-5535, ext. 1323, not later than seven (7) days after
             receipt of a copy of this judgment to coordinate Respondent’s compliance.

                                    Probation Revocation

          Upon information that Respondent has violated a term of this judgment, the Chief

Disciplinary Counsel may, in addition to all other remedies available, file a motion to revoke

probation pursuant to Rule 2.23 of the Texas Rules of Disciplinary Procedure with the

Board of Disciplinary Appeals (BODA) and serve a copy of the motion on Respondent

pursuant to Tex.R.Civ.P. 21a.

          BODA shall conduct an evidentiary hearing. At the hearing, BODA shall determine

by a preponderance of the evidence whether Respondent has violated any term of this

Judgment.      If BODA finds grounds for revocation, BODA shall enter an order revoking

probation and placing Respondent on active suspension from the date of such revocation

order.     Respondent shall not be given credit for any term of probation served prior to

revocation.

          It is further ORDERED that any conduct on the part of Respondent which serves as

the basis for a motion to revoke probation may also be brought as independent grounds for




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discipline as allowed under the Texas Disciplinary Rules of Professional Conduct and

Texas Rules of Disciplinary Procedure.

                                Attorney’s Fees and Expenses

           It is further ORDERED Respondent shall pay all reasonable and necessary

attorney’s fees and direct expenses to the State Bar of Texas in the amount of One

Thousand Eight Hundred Dollars and No Cents ($1 ,800.00). The payment of attorney’s

fees and direct expenses shall be made in (4) monthly installments, each in the amount of

Four Hundred Fifty Dollars and No Cents ($450.00). Each payment is due on or before the

fifteenth (15th ) day of each month, as follows: November 15, 2018; December 15, 2018;

January 15, 2019; and February 15, 2019. The payments of attorney’s fees and direct

expenses shall be made by certified or cashier’s check or money order and made payable

to the State Bar of Texas, and delivered to the State Bar of Texas, Chief Disciplinary

Counsel’s Office, P.O. Box 12487, Austin, TX 78711-2487 (1414 Colorado St., Austin, TX

78701).

           It is further ORDERED that all amounts ordered herein are due to the misconduct of

Respondent, are assessed as a part of the sanction in accordance with Rule 1 ,06(Z) of the

Texas Rules of Disciplinary Procedure. Any amount not paid shall accrue interest at the

maximum legal rate per annum until paid and the State Bar of Texas shall have all writs

and other post-judgment remedies against Respondent in order to collect all unpaid

amounts.

                                            Publication

           This suspension shall be made a matter of record and appropriately published in

accordance with the Texas Rules of Disciplinary Procedure.



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                                           Other Relief

          All requested relief not expressly granted herein is expressly DENIED.


          SIGNED this            day of -November, 201 8.


                                               EVIDENTIARY PANEL 14-2
                                               DISTRICT NO. 14
                                               STATE BAR OF TEXAS




                                               Harold Frederick Hagen
                                               District 14, Panel 14-2 Presiding Member



AGREED AS TO BOTH FORM AND SUBSTANCE:




                                                       Kristin Virginia Brady
                                                       State Bar No. 24082719
                                                       Counsel for Petitioner




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